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  AO 91 (Rev.   li/Il)   Criminal Complaint
                                                                                                                                FIlLED
                                          UNITED STATES DISTRICT COURT                                                   September 28, 2021
                                                                                                                         CLERK, U.S. DISTRICT COURT
                                                                        for the                                          WESTERN DISTRICT OF TEXAS
                                                            Western District   of Texas                            BY:        Veronica Medina
                                                                                                                                           DEPUTY
                     United States of America                              )
                                v.                                         )
                     Luis David ARMENDARIZ                                 )      Case No.   EP-21-MJ-2124-LS

                                                                           )

                                                                           )


                               Defendant(s)


                                                     CRIMiNAL COMPLAINT
         I, the complainant in this case, state that the following is true to the
                                                                                  best of my knowledge and belief.
 On or about the date(s) of           September 27 2021                in the county of            El Paso                              in the
                            District of            Texas            ,   the defendant(s) violated:
                Code Section
                                                                                   Offense Description
 18   usc 371                                       Conspiracy to commit 18 usc 554




          This criminal complaint is based on these facts:
 See attached affidavit




                Continued on the attached sheet.



                                                                                                     Complainant 's signature

                                                                                              Asher Schuler, Special Agent
                                                                                                      Printed iame and rule

Sworn to before me and signed in my presence.


Date:     09/28/2021

                                                                                                       Judge's signal tire
City and state:                               ElPasoTexas                                 Leon Schydlower, US Magistrate Judge
                                                                                                     Printed name and title
                                                     Oath Telephonically Sworn

                                                              At _LL:_

                                                      Fed.R.Crim.P.4.1(b)(2)(A)
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                                         AFFiDAVIT

            I,   Asher E. Schuler, being duly sworn, depose and state that:

I am a Special Agent, being duly sworn, depose and state that I am a Special Agent with the
Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), United States Department of
Justice, assigned to the EJ Paso, Texas Field Office and have been so employed since January
20 15. Previous to this position I was a Police Supervisor for the Temple Police Department,
Temple, Texas, in which I held various assignments during my thirteen years. I am a graduate of
the Federal Law Enforcement Training Center, ATF National Academy, Central Texas Police
Academy, and United States Army Criminal Investigations Division (CD) Special Agent
Course; as a result of my experience as an ATF / US Army CID Special Agent and Texas Police
Officer, I am familiar with Federal Firearms and Narcotics Laws; Based on facts contained in
this affidavit, your Affiant believes that probable cause exists that Luis David ARMENDARIZ,
who conspired to smuggle ammunition from the United States to Mexico.

This affidavit sets forth only those facts and circumstances necessary to establish probable cause
for the issuance of the requested criminal complaint. This affidavit does not contain every
material fact that I have learned during the course of this investigation. The information
contained in this affidavit is based on my investigation and on information provided to me by
other United States Federal and State law enforcement officials who conducted this
investigation.


Further your Affiant states:


On September 24, 2021, your Affiant continued an investigation after receiving a tip about large
amounts of ammunition being purchased by an individual that the distributor believed was
suspicious. Your affiant had information from a previous investigation, that the address the
ammunition was being mailed to had been previously used as part of ammunition smuggling
network. Your Affiant conducted surveillance and intelligence operations to gather relevant
information to determine if violations of Federal Law were occurring by the individual and/or
other individuals.


On September 27, 2021, your affiant conducted relevant checks of the address that the
ammunition was being mailed to and learned that the person the ammunition was being mailed to
was not on the lease or the utilities for the address in El Paso, Texas. Your affiant learned that
Luis David ARMENDARIZ resided at the address and that ARMENDARIZ had previously
crossed from Mexico into the United States with the purchaser of the ammunition.


Your affiant received information that approximately 9,000 rounds of 7.62 caliber ammunition
was to be delivered to the address on September 27, 2021.
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On September 27, 2021, your affiant along with members of the ATF El Paso Field Office and
Homeland Security Investigations conducted a surveillance operation at the residence of
ARMENDARIZ where the ammunition was to be delivered. Surveillance observed FEDEX
deliver multiple boxes to ARMENDARIZ's residence and later placed inside the residence by
ARMENDARIZ. Your affiant confirmed the FEDEX tracking number for the ammunition
matched the delivery date and time that the ammunition was delivered.


Your Affiant and an ATF Task Force Officer from US Customs and Border Protection moved
into the front yard and initiated contact with ARMENDARIZ who had just finished loading the
ammunition boxes into the residence.


ARMENDARIZ was asked if the person whose name was listed on the shipping label for the
ammunition was present at the residence and ARMENDARIZ advised that the person did not
live there. ARMENDARLZ stated that it was his residence, but that ARMENDARIZ lived in
Juarez, Mexico. ARMENDARJZ gave consent to enter the residence and your affiant discovered
19 boxes of Wolf 7.62 ammunition. Each box contained 1000 rounds of ammunition for a total
of 19,000 rounds of ammunition. ARMENDARIZ advised that he was paid by people in Juarez,
Mexico to rent the apartment solely to receive the ammunition and admitted to taking
ammunition to Juarez, Mexico at least one time.


Your Affiant observed numerous broken-down cardboard boxes that previously contained
ammunition as well as numerous empty green metal ammunition cans used to store and transport
.50 caliber ammunition throughout the residence. The residence had no belongings, clothing, or
anything to give the appearance the residence was being lived in.


ARMENDARIZ later admitted the residence was only used to store ammunition prior to the
ammunition being smuggled into Mexico. ARMENDARIZ advised that he had rented the
apartment for four months, normally received packages to the residence approximately 4 times a
week. ARMENDARIZ began to suspect the packages was ammunition approximately one month
ago. ARMENDARIZ confirmed the packages received at the residence were boxes of
ammunition approximately one week ago. ARMENDARIZ advised that he was paid
approximately $350 a week, by people in Juarez, Mexico, to rent the address and place boxes
inside the residence when they arrived by mail carrier. ARMENDARIZ advised that he knew the
ammunition that he was receiving was being smuggled in Mexico.


Your affiant received confirmation from ATF Special Matthew Schieno that the Wolf 7.62x39
caliber Full Metal Jacket (FMJ) ammunition, was not manufactured in Texas, and traveled in
interstate commerce.
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Based on the aforementioned facts and circumstances, your Affiant believes probable cause
exists that Luis David ARMENDARIZ unlawfully Conspired to illegally export ammunition into
Mexico from the United States in violation of 18 USC 371.


FURTHER THE AFFIANT SAYETH NOT.




Asher E Schu er, Special Agent
Bureau of Alcohol, Tobacco, Firearms, and Explosives


Subscribed and sworn to me this 28Ih day of September 2021




Leon Schydlower
United States Magistrate Judge
